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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL D

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DECEMBER
2, 2010

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&nbsp;

IN RE RODDY D. PIPPIN, RELATOR



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&nbsp;

&nbsp;

Before QUINN,
C.J., and CAMPBELL and PIRTLE, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

Relator Roddy Dean
Pippin, proceeding pro se, filed a
petition for writ of mandamus on October 25, 2010.&nbsp; By letter of October 26, we informed relator of his failure to pay the requisite filing
fee.&nbsp; In a letter of November 12, we
notified relator the filing fee remained unpaid and
explained the proceeding would be dismissed unless the filing fee was paid or
an affidavit of indigence filed by November 23.&nbsp;
See Tex. R. App. P. 5, 20.1,
42.3(c).&nbsp; Relator
did not pay the fee or file an affidavit of indigence as directed.&nbsp; 

Accordingly, we dismiss relator’s
petition.&nbsp; See Tex. R. App. P. 5, 42.3(c).

&nbsp;

Per Curiam 

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